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           Case 2:21-cr-00349-FMO Document 1 Filed 06/22/21 Page 1 of 9 Page ID #:1
                                                                                                          6/22/2021
AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)          ‫ ܆‬Original    ‫ ܆‬Duplicate Original
                                                                                               CENTRAL DISTRICT OF CALIFORNIA
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                                UNITED STATES DISTRICT COURT                                               CLERK, U.S. DISTRICT COURT




                                                         for the
                                                                                                            6/22/2021
                                                                                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                     JB
                                                                                                        BY: ____________BB______ DEPUTY
                                            Central District of California

 United States of America

                 v.
                                                                   Case No.      2:21-mj-02974 -DUTY
 Kyle Cleveland,

                 Defendant(s)


                            CRIMINAL COMPLAINT BY TELEPHONE
                           OR OTHER RELIABLE ELECTRONIC MEANS

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of March 22, 2021 in the county of Los Angeles in the Central District of California, the

defendant(s) violated:

           Code Section                                            Offense Description

           21 U.S.C. § 841(a)(1), (b)(1)(A)(viii), and             Possession w/ Intent to Distribute
           (b)(1)(B)(i)                                            Methamphetamine and Heroin

         This criminal complaint is based on these facts:

         Please see attached affidavit.

         _ Continued on the attached sheet.



                                                                                 Complainant’s signature

                                                                         Merrilee Goodwin, FBI Special Agent
                                                                                   Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:                6/22/21
                                                                                      Judge’s signature

 City and state: Los Angeles, California                             Hon. Charles F. Eick, U.S. Magistrate Judge
                                                                                  Printed name and title

AUSA: El-Amamy x0552
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                               AFFIDAVIT

I, Merrilee Goodwin, being duly sworn, declare and state as

follows:

                           I. INTRODUCTION

     1.      I am a Special Agent with the Federal Bureau of

Investigation (“FBI”).    I have been a Special Agent with the FBI

since 1998.    I am currently assigned to a Domestic Terrorism

Squad of the Los Angeles Field Office, where I primarily

investigate people who commit violent criminal acts in

furtherance of their political or social ideology, and

investigate threats associated with the nefarious use of

chemical, biological, radiological, nuclear, and explosive

materials.    In this capacity, I investigate federal crimes

pertaining to terrorism and have gained experience in cyber-

based matters including those involving dark web markets.           As a

result, I am familiar with the methods used by criminals in

furtherance of their criminal activities in both the virtual and

physical worlds, and I have received both formal and informal

training from the FBI and other institutions regarding cyber and

computer crime investigations and review of digital devices.            As

a Special Agent I completed the FBI Academy in Quantico,

Virginia, and received training to include the fundamentals of

law, ethics, interviewing, report writing, firearms,

surveillance, defensive tactics, and case management.          I have

also received training regarding the methods of operations of

individuals who distribute drugs.



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                       II. PURPOSE OF AFFIDAVIT

     2.      This affidavit is made in support of a criminal

complaint against, and arrest warrant for, Kyle CLEVELAND

(“CLEVELAND”) for violations of Title 21, United States Code,

Section 841(a)(1), (b)(1)(A)(viii): Possession with Intent to

Distribute Methamphetamine; and Title 21, United States Code,

Section 841(a)(1), (b)(1)(B)(i): Possession with Intent to

Distribute Heroin (the “Subject Offenses”).

     3.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

warrant and does not purport to set forth all of my knowledge of

or investigation into this matter.       Unless specifically

indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part only and

all dates are approximate.

                   III. STATEMENT OF PROBABLE CAUSE

     4.      Based on my knowledge of this investigation and my

communications with other federal and local law enforcement

officers, I am aware of the following:

             a.   The San Fernando Valley Peckerwoods (“SFVPs”) are

a White Supremacist Extremist group based in Los Angeles County.

SFVPs’ members have engaged in racially motivated violence as

well as criminal activity such as drug and illegal firearms

trafficking.

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          b.    The Peckerwoods originated in the California

State prison system.    Peckerwood groups are spread throughout

the state of California.

          c.    Peckerwoods are often required by their peers to

earn their “bolts,” which refers to the lightning bolt tattoo

usually found on the inside portion of their left biceps.           To

earn this tattoo, a Peckerwood generally must commit a serious

assault against a non-white individual.

          d.    CLEVELAND is believed to be a SFVP member.          He is

believed to be one of the SFVP members who regularly engages in

trafficking large quantities of drugs.

     5.   Based on my review of a law enforcement report

prepared by Los Angeles Police Department (“LAPD”) Officer

Chavez, I am aware of the following:

          a.    On March 22, 2021, at approximately 7:35 p.m.,

LAPD Officers Chavez and Theule were in a marked police vehicle

in the vicinity of Cantlay Street and Oakdale Avenue in Los

Angeles, California.    The officers were driving east bound on

Cantlay Street from Oakdale Avenue when they observed a gray

Dodge Charger with no front license plate, in violation of

California Vehicle Code Section 5200(a), exit the cul-de-sac on

Hatillo Avenue at Cantlay Street.       The officers recognized the

vehicle as one that was parked in front of the driveway of a

residence on Hatillo Avenue earlier that day, which was known to

the officers to be a “problem location.”

          b.    The officers saw the Dodge Charger drive

westbound on Cantlay Street and pass their vehicle.          The


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officers began following the Dodge Charger in order to determine

whether there were any outstanding arrest warrants associated

with the license plate.     When the officers pulled behind the

vehicle, the driver of the Dodge Charger began to drive

erratically at a high rate of speed in a residential

neighborhood.     The officers followed the Dodge Charger from one

to two car lengths behind and saw it fail to stop at a posted

stop sign.    Due to the driver’s erratic driving, the officers

did not activate the patrol vehicle’s emergency lights and did

not attempt to stop the vehicle.        The officers saw the Dodge

Charger enter the intersection at Saticoy Street and Oakdale

Avenue against a red light, where it was hit by a white pickup

truck traveling eastbound on Saticoy Street.

             c.   After being hit by the pickup truck, the Dodge

Charger traveled eastbound Saticoy Street from Oakdale Avenue

for a short distance and then came to a stop.        Officer Chavez

observed a black object being thrown out of the passenger window

of the Dodge Charger as the vehicle came to a stop.          Based on

his training and experience, Officer Chavez believed that this

action was consistent with an individual discarding firearms

and/or narcotics from the vehicle prior to a law enforcement

search of the vehicle.     Out of concern that the occupant of the

vehicle could be armed, Officer Chavez requested that additional

law enforcement officers respond to the scene.         The individual

driving the vehicle was its sole occupant and was later

identified as CLEVLAND.




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            d.   Officer Theule recovered the black object that

CLEVLAND had thrown from the Dodge Charger, which was a black

cloth zipper case appearing to contain large quantities of

various drugs, a glass pipe with a bulbous end containing a

burnt crystalline residue resembling methamphetamine, and a

scale.    Also among the items in the black cloth zipper case was

a clear plastic zip bag containing blue pills imprinted with

“Y20.”    Law enforcement officers conducted a search of the Dodge

Charger and located three cellular telephones, two of which were

in the driver’s area of the vehicle.       Officer Theule also

located a clear plastic zip lock baggie from the center console

area of the vehicle containing a white crystalline substance

resembling methamphetamine.     The clear zip lock baggie was the

same type of clear zip lock baggie that was found inside the

black cloth zipper case that CLEVLAND threw out of the vehicle

as it came to a stop.    Officer Theule also recovered $4,395 in

cash from CLEVLAND’s right rear pants pocket.

            e.   Officer Theule advised CLEVLAND of his Miranda

rights.   CLEVELAND stated the Dodge Charger was his and claimed

ownership of all the items inside the vehicle.         CLEVELAND

refused to answer questions regarding the black cloth zipper

case and its contents.

     6.     After the date of this incident, law enforcement

officers assisting with this investigation took custody of the

drugs that had been seized from CLEVELAND and transferred them

to the Drug Enforcement Administration Southwest Laboratory for

analysis.   The laboratory determined that the amount of drugs

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recovered from the Dodge Charger and vicinity on March 22, 2021

was approximately 397.3 grams of methamphetamine that was 100%

pure, 247 grams of a mixture or substance containing a

detectable amount of heroin, and 12 grams of a mixture or

substance containing a detectable amount of N-Phenyl-N-[1-(2-

phenylethyl)-4-piperidinyl] propanamide (“fentanyl”).          Based on

my training and experience, I am aware that these quantities of

methamphetamine and heroin are not quantities that can be

personally used by any one individual.       Based on the drug

quantities, the assortment of drugs, the money, and the scale,

there is probable cause to believe CLEVELAND possessed the

methamphetamine and heroin with the intent to distribute the

drugs to customers in and around the San Fernando Valley.

     7.   On April 7, 2021, the Honorable Alicia G. Rosenberg,

United States Magistrate Judge, issued a warrant in Case Number

21-MJ-01673 (C.D. Cal.) authorizing the search of

facebook.com/profile.php?id=100000085788721, which is a Facebook

account belonging to CLEVELAND, for evidence, contraband,

fruits, or instrumentalities of criminal violations of 21 U.S.C.

§ 841(a)(1) (Possession with Intent to Distribute Controlled

Substances); and 21 U.S.C. § 846 (Conspiracy to Possess with

Intent to Distribute and Distribute Controlled Substances).

Based on my review of the contents of CLEVELAND’s Facebook

account, I am aware that CLEVELAND made the following statements

about his March 22, 2021 arrest:




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            a.   On March 24, 2021, CLEVELAND told Facebook user

R.C. that he “just got out [of jail,]” and that he had been in a

“[h]igh speed chase,” and “broke [his] hand.”

            b.   On March 24, 2021, CLEVELAND told Facebook user

K.S. that he “[j]ust got out [of jail] again [y]esterday,” and

that he was in a “[h]igh speed chase,” and “[g]ot hit.”

CLEVELAND told K.S. that he was alone in his vehicle.

            c.   On March 24, 2021, CLEVELAND told Facebook user

A.R. that he was “fucked up,” and that his “[c]ar [was]

totaled.”   CLEVELAND told Facebook user A.R. that he was facing

“[c]ase number 3.”

            d.   On March 24, 2021, CLEVELAND told Facebook user

J.D. that CLEVELAND did not have a telephone right now because

he had been involved in a “high speed chase.”

            e.   On March 24, 2021, CLEVELAND and Facebook user

P.R. discussed CLEVELAND’s arrest, and P.R. asked if CLEVELAND

still had “those blue things I left with you.”         CLEVELAND

responded, “[n]ope.”    Later in the conversation, CLEVELAND told

P.R.: “Need to go see if I can get my shit out of the car,” and

stated that the car was at “Howard somers.”

            f.   On March 25, 2021, CLEVELAND told Facebook user

R.H. that he was in a “high speed chase,” and “lost it all,” and

was “fucking heated.”

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                             IV. CONCLUSION

     8.   For the reasons described above, I respectfully submit

there is probable cause to issue the requested criminal

complaint and arrest warrant.

Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 22nd
                  ____ day of
June, 2021.



UNITED STATES MAGISTRATE JUDGE




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